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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                RICHMOND DIVISION

THE TRUSTEES OF COLUMBIA
UNIVERSITY IN THE CITY OF NEW
YORK,
                                                Civil Action No. 3:13-cv-00808-MHL
                       Plaintiff,

       v.

NORTONLIFELOCK INC.,

                       Defendant.


              COLUMBIA’S MOTION FOR AN ORDER TO SHOW CAUSE

       The Trustees of Columbia University in the City of New York (“Columbia”), by counsel,

hereby moves the Court for an order to show cause why certain NortonLifeLock Inc. (“Norton”)

counsel of record should not be held in civil contempt for failure to comply with the Court’s March

15, 2022 Order (Dkt. 890). The factual and legal basis for this motion and the precise relief

requested is more fully set forth in Columbia’s Brief in Support of Motion for an Order to Show

Cause, filed contemporaneously herewith.
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Dated: May 24, 2022                      Respectfully submitted,

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